              Entered on Docket December 9, 2022              Below is the Order of the Court.




1                                                             _____________________________
                                                              Marc Barreca
2                                                             U.S. Bankruptcy Judge
                                                              (Dated as of Entered on Docket date above)
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10
                            IN THE UNITED STATES BANKRUPTCY COURT
11
                      FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
12

13
                                                           IN CHAPTER 13 PROCEEDING
     In re:                                                NO. 22-11270-MLB
14   DEREK ALLEN WATSON and
15
                                                           ORDER DISMISSING CASE
     MEGAN MELISSA WATSON,
16                     Debtors.
17
               THIS MATTER having come before the Court upon the Chapter 13 Trustee’s Motion to
18
     Dismiss Case (ECF No. 36). For the reasons stated by the Court at the December 7, 2022
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     hearing, it is
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               ORDERED that this case is dismissed.
21
                                            / / /End of Order/ / /
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23

24
     Presented by:
25
     /s/ Jason Wilson-Aguilar       _
26   JASON WILSON-AGUILAR, WSBA #33582
     Chapter 13 Trustee
27
     600 University St. #1300
     Seattle, WA 98101
28
     (206) 624-5124


                                                                       Chapter 13 Trustee
     ORDER DISMISSING CASE - 1                                      600 University St. #1300
                                                                       Seattle, WA 98101
                                                                 (206) 624-5124 FAX 624-5282
       Case 22-11270-MLB          Doc 99   Filed 12/09/22       Ent. 12/09/22 14:26:42 Pg. 1 of 1
